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tocontactaidan@grnail.com ' Y :---_.___________
Attorneys for Plaintiff EDWARD PAO
UNITED STATES DISTRICT COURT
CENTRAL DISTRIC_:T OF CALIFORNIA _
si cvz z-ooz?@lrxlw)<l
EDWARD PAo, an inaiviaual, CASE No.= '
Plail'ltiff, COMPLAINT FOR DAMAGES FOR
VIOLATIONS OF
VS. 1 THE FAIR DEBT
OLLECTION

PRACTICES ACT; AND
LEGAL RECOVERY LAW OFFICES,

INC., a California corporation; and 2) THE ROSENTHAL ACT.
DOES l-lO, inclusive,

Defendants.
DEMAND FOR JURY TRIAL.

 

I. JURISDICTION AND VENUE.
l. Jurisdiction of this Couit arises under 15 U.S.C. §1692k(d) and 28 U.S.C.
§1337, and supplemental jurisdiction exists for the state law claims pursuant to 28
U.S.C. §l367. Declaratory relief is available pursuant to 28 U.S.C. §2201 and 2202.

2. Venue in this District is proper in that Piaintiff’s claim arose in this District.
/ / /

 

 

 

1 COMPLAIN'§`

 

 

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II. THE PARTIES.

3. The plaintiff EDWARD PAO (“Plaintiff”), is a natural person who, at all
times relevant herein, resided in Los Alamitos, which is located in Orange County,
Califomia.

4. Defendant LEGAL RECOVERY LAW OFFICES, INC. (“LRLO”) is and at
all times relevant herein was a California corporation, with its principal offices
located in San Diego, California.

5. The true names and capacities, whether individual, corporate, associate or
otherwise, of the defendants sued herein as DOES l through 10, inclusive, are
unknown to Plaintiff, who therefore sues such defendants by such fictitious names.
Plaintiff will amend this complaint to show the true names and capacities of such
defendants when they have been ascertained Plaintiff is informed and believes that
each of the defendants designated herein as a DOE was in some manner responsible
for the occurrences and injuries alleged herein,

6. At all times mentioned herein, each of the defendants was the agent and
employee of the other named defendants, and in doing the things alleged were acting
within the course and scope of such agency and employment, and in doing the acts
herein alleged were acting with the consent, permission and authorization of the
remaining defendants All actions of each of the defendants were ratified and
approved by the other named defendants

' 7. Defendants are debt collectors, as defined by the Fair Debt Collection
Practices Act (“FDCPA”), 15 U.S.C. §l692a(6), and as defined by California Civil
Code section 1788.2( c).

III. FACTUAL ALLEGATIONS.

8. Plaintiff, who is not a minor, obtained a credit card solely for personal,

family and household use. The original creditor - or an assignee who purportedly
acquired the rights to the debt - hired LRLO to collect the alleged debt.

 

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9. On or around November 26, 2012, LRLO contacted Plaintiff in writing, in
an attempt to collect the debt, In its November 26, 2012, letter, LRLO alleged a
“total due” of $6,765.92, which, the letter demonstrated, included $260.00 in “court
costs.” In fact, no court costs had been incurred, since no lawsuit had been filed,
and, as the letter stated, “[a]t this time, no attorney with this firm has personally
reviewed the particular circumstances of your account.”

lO. On or around December 12, 2012, Plaintiff wrote a letter to LRLO,
indicating that he disputed the debt, and that he refused to pay the debt, and also
demanding that LRLO refrain from further communication with him regarding the

debt,

11. LRLO received Plaintiff’s cease communication letter on December 14,
2012.

12. LR_LO ignored Plaintiff’s request to cease communication regarding the
debt. On December 17, 2012, LRLO wrote another letter to Plaintiff attempting to
collect the debt, The letter stated in part, “[t]his is an attempt to collect a debt.”

13. The December 17, 2012, letter again stated a “current balance” of
$6,765.92, which amount included fees, penalties and interest not authorized by any
enforceable contract or statute. LRLO’s December 17, 2012, demand letter again

referred to $260.00 in “Court Costs” which had not been incurred.

FIRST CLAIM FOR RELIEF
(For Violations of the FDCPA Against LRLO and DOES 1 through 5, inclusive)

14. Plaintiff repeats and reincorporates by reference the paragraphs 1 through
13 above.

15. Defendants, and each of them, violated the FDCPA. Defendants’
violations include, but are not limited to, the following:

a) Using false representations and deceptive means to collect or attempt to
collect a debt, in violation of 15 U.S.C. §1692e(:10);

 

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b) Using unfair and/or unconscionable means to collect an alleged debt, in
violation of 15 U.S.C. §1692f;

c) Contacting Plaintiff in an attempt to collect a debt after receiving a cease
communication directive, in violation of 15 U.S.C. §16920( c);

d) Attempting to collect an amount (including any interest, fee, charge, or
expense incidental to the principal obligation) not expressly authorized by the
agreement creating the purported debtor permitted by law, in violation of 15 U.S.C.
§1692f(1).

16. As a direct and proximate result of the above violations of the FDCPA,
Plaintiff has suffered actual damages, including but not limited to feelings of
anguish, frustration, humiliation, anxiety, and stress, among other things. For that
reason, Defendants, and each of them, are liable to Plaintiff for declaratory judgment
that defendants’ conduct violated the FDCPA, and Plaintiff’s actual damages,

statutory damages, costs and attorney’s fees.

SECOND CLAIM FOR RELIEF
(For Violations of the Rosenthal Act Against LRLO and DOES 1 through 5,
inclusive)

17, Plaintiff repeats and reincorporates by reference the paragraphs l through
16 above.

18. Defendants, and each of them, knowingly and wilfully violated
Califomia’s Rosenthal Fair Debt Collection Practices Act (hereinafter the “Rosenthal
Act”). Defendants’ violations include, but are not limited to, the following acts
performed in attempting to collect a consumer debt:

a) Using false representations and deceptive means to collect or attempt to
collect a debt, in violation of 15 U.S.C. §l692e(10) and California Civil Code
section 1788.17;

 

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b) Using unfair and/or unconscionable means to collect an alleged debt, in
violation of 15 U.S.C. §l692f and California Civil Code section 1788.17;

c) Contacting Plaintiff in an attempt to collect a debt after receiving a cease
communication directive, in violation of 15 U.S.C. §16920( c) and California Civil
Code section 1788.17; and

d) Attempting to collect an amount (including any interest, fee, charge, or
expense incidental to the principal obligation) not expressly authorized by the
agreement creating the purported debt or permitted by law, in violation of 15 U.S.C.
§1992f(l) and California Civil Code section 1788.17.

19. As a result of defendants’ violations of the Rosenthal Act, pursuant to
Civil Code section 1788.30, Plaintiff is entitled to actual damages, statutory

damages, attorney’s fees and costs.

WHEREFORE, Plaintiff requests thatjudgment be entered in his favor against

the defendants as follows:

l. Statutory damages, pursuant to 15 U.S.C. section 16921<(a)(2) and/or Civil
Code section 1788.30(b);

2. Actual damages, pursuant to 15 U.S.C. section 1692k(a)(l) and/or Civil
Code section 1788.30(a); j

3. Costs and reasonable attorney’s fees, pursuant to 15 U.S.C. section
1692k(a)(3), and/or Civil Code section 1788.30(0) and/or Code of Civil Procedure
section 490.020.

4. General damages, in an amount subject to proof at trial; and
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7. Such other and further relief as the Court deems just and proper.
PLEASE TAKE NOTICE that Plaintiff EDWARD PAO requests a trial by
jury.

DATED: January 8, 2013 Respectfully submitted,

By; W

Aidan W. Butler
Attorne for Plaintiff
EDWA PAO

 

 

 

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Case 8:13-cv-00037-.]VS-AN Document 1 Filed 01/09/13 Page 7 ot 10 Page |D #:7

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge J ames V. Selna and the assigned
discovery Magistrate Judge is Arthur Nakazato.

The case number on all documents filed with the Court should read as follows:

SACV13- 37 JV'S (ANX)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of Califomia, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
Hled, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be filed at the following location:

Westem Division outhern Division Eastern Division
312 N. Spring St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Fal|ure to tile at the proper location will result in your documents being returned to you.

 

CV-18 (03/06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

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Case 8:13-cv-00037-.]VS- Documen ~"\,l:ilé`o)"§)y 117®/1\§?:? w
M %_ > \`;;~;/ l `
Aidan W. Butler (SBN 208399)
Attorney at Law
3550 Wilshire Blvd., Suite 1924
Los Angeles, CA 90010

Tel. (213) 388-5168; Fax (213) 388-5178
tocontactaidan@gmail.com

 

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

EDWARD PAo, an individual, CASE NUMBER

 

 

v' pLAINTIFF(S) S A C V 1 3 "` 0 0 §§ j\l gl`i)iNXi

LEGAL RECOVERY LAW OFFICES, INC., a

Califomia corporation; and DOES 1-10, inclusive,
SUMMONS

DEFENDANT(S).

 

 

TO: DEFENDANT(S):

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the clay you received it), you
must serve on the plaintiff an answer to the attached Efcomplaint E amended complaint
111 counterclaim 111 cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. 'l`he answer

or motion must be served on the plaintiffs attorney, Aidan W. Butler . whose address is
3550 Wilshire Blvd., Suite 1924, Los Angeles, CA 90010 _ lfyou fail to do SO,

judgment by default will be entered against you for the relief demanded in the complaint. You also must tile
your answer or motion with the court.

   

JAN -9 2013 clerk,u.s.oiscrictcourc ,,

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Dated: By: r ii ii
Deputy Clerk "‘1. 1 ,

(Seal of the Court)

[Use 60 days if the defendant is the United Sta!es or a United Sta!es agency, or is an ojicer or employee of the United States. Allowed
60 days by Rule lZ(a)(3)].

 

CV-OlA (10/11 SUMMONS

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UNITED STATES DISTRICT COURT, CENTRAL DlSTRlCT OF CALIFORNIA
Cier covert sHEET

l (a) PLAINTIFFS (Check box if you are representing yourself 5)
EDWARD PAO, an individual,

t

l

(b) Attomeys (Finn Name, laddress and Te|ephone Number. If you are representing

yourself`, provide same.)

Aidan W, Butler (SBN 208399)
3550 Wilshire Blvd., Suite 1924, Los Angeles, CA 90010
Tel. (213)388-5168; fax (213)388-5178; email - tocontactaidan@gmail.com

 

DEFENDANTS
LEGAL RECOVERY LAW OFFICES, INC., a Calit`omia corporation; and
DOES l-lO, inclusive,

Attorneys (lf`l<nown)

 

ll. BAS|S OF JURISDICTION (Place an X in one box only.)

5 l U.S_ Govemment Plaintiff

5 2 U.S_ chcmment Defendam

213 Federal Quesxi<m (u.s_

Govemment Not a Party)

5 4 Diversity (1ndicate Citizenship

of Parties in ltem lll)

lV. ORIGIN (Place an X in one box only.)

 

lll. ClTlZENSHlP OF PRINC|PAL PARTlES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)

PTF DEF

Citizen ofThis State

Citizen ot`Another State

Citizen or Subject cfa Foreign Country 5 3

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PTF DEF

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of Business in this State

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of Business in Another State

Foreign Nation

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1211 Original 5 2 Removed from 5 3 Remanded from 5 4 Reinstated or 5 5 Transferred from another district (specify); 5 6 Multi- 5 7 Appeal to District
Proceeding State Coun Appellate Court Reopened District Judge from
Litigation Magistrate Judge

 

V. REQUESTED lN COMPLAINT: JURY DEMAND: MYes 5 No (Check ‘Yes’ only if demanded in complaint.)
cLAss AcrloN under F.R.c.P. 23: cl Yes u{No

191 MoNr~:Y pEMANI)ED rN coMPLMNT: s NO amount Specified

Vl. CAUSE OF ACT|ON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
Violations of the Fair Debt Collection Practices Act - 15 U.S.C. section 1692

Vll. NATURE OF SU|T (P|ace an X in one box only.)

 

OTHER STATUTES

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or Defendant)
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AF'I`ER COMPLET[NG THE FRONT SIDE OF FORM CV-7l, COMPLETE THE lNFORMATION REQUESTED BELOW.

 

CV-71 (05/08)

CIVIL COVER SHEET

Page 1 of 2

, . Case 8:13-cv-00037-.]VS-AMDocument 1 Filed 01/09/13 Pag@sj§O ot 10 Page |D #:10

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORN[A
ClVlL COVER SHEET

Vlll(a). IDENT[CAL. CASES: 1-las this action been previously filed in this court and dismissed, remanded or closed? |jNo 5 ¥es
1f yes, list case number(s):

 

Vlll(b). RELATED CASES: l-lave any cases been previously filed in this court that are related to the present case? EfNo 5 Yes
lfyes, list case number(s):

 

Civil cases are deemed related if a previously liled ease and the present ease:
(Check all boxes that apply) 5 A. Arise from the same or closely related transactions, happenings, or events; or
5 B. Call for determination of the same or substantially related or similar questions of law and fact', or
5 C. For other reasons would entail substantial duplication of labor if heard by different judges; or
5 D. involve the same patent, trademark or copyright, B one of the factors identified above in a, b or c also is present.

1X. VENUE: (When completing the following information, use an additional sheet if necessary.)
(a) List the County in this District; Califomia County outside of this District‘_ State if other than Ca|it`omia; or Foreign Country, in which EACH named plaintiff resides
5 Check here if the govemment, its agencies or employees is a named plaintiff lf this box is checkedl go to item (b).

County in this District:*
Orange County

 

Califomia County outside of this District; State, if other than California; or Foreign Country

 

 

 

 

 

(b) List the County in this District; Califomia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named defendant resides.
5 Check here if the governmentl its agencies or employees is a named defendant if this box is checked, go to item (c).

County in this District:‘

 

California County outside of this District; Stale, if other than Califomia', or Foreign Country
San Diego County

 

 

 

 

(c) List the County in this District', Calit`omia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cases, use the location of the tract of land involved.

 

County in this District:’ Calit`ornia County outside of this District; State, if other than Califomia; or Foreign Country
Orange County

 

 

 

 

 

* Los Ange!es, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation casesl use the location of the tract of land involved
\-. .
x. sicNAruRE 0F ArToRNEY (oR PRo PER); z z z bare Januau/ 74 2013

Notice to Counsel/Parttes: The CV-71 (JS~44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This fonn, approved by the 1udicia1 Conference of the United States in September 1974, is required pursuant to Local Rule 3-l is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instmctions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Securit'y Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospita|s, skilled nursing facilities etc., for certification as providers of services under the
program (42 U.S.C. l935FF(b))

862 BL All claims for “Black Lung" benefits under Title 4, Part B, of the Federa| Coal Mine Health and Safety Act of 1969.
(30 UsS.C, 923)

863 DlWC Al| claims filed by insured workers for disability insurance benefits under Titlc 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 u.s.c_ 405(g))

864 SSID Al| claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended

865 RSI A|l claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U¢S~C» (E)J

 

CV-71 (05/08) ClVlL COVER SHEET Page 2 of2

